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                                United States Bankruptcy Court
                                  Northern District of Illinois
                                      Eastern Division


IN RE: Michelle Y. Powell                 )
                                          )      CHAPTER 13
                                          )      Case No. 16-25353
              DEBTOR(S)                   )      Judge: Goldgar
                                          )
To:


Michelle Powell, 649 E. 50th St., 20E, Chicago, IL 60615


Trustee Stearns, 801 Warrenville Road, Suite 650 Lisle, IL60532 (via electronic notice)


And see attached service list

                                      NOTICE OF MOTION

PLEASE TAKE NOTICE that on Friday, February 18, 2022 at 10:00 a.m., I will
appear before the Honorable Judge Goldgar, or any judge sitting in that judge’s
place, and present the motion to Modify Plan and Extend Plan Payments, a copy of
which is attached. This motion will be presented and heard electronically using
Zoom for Government. No personal appearance in court is necessary or permitted.


To appear and be heard on the motion, you must do the following: To appear by
video, use this link: https://www.zoomgov.com/. Then enter the meeting ID and
password. To appear by telephone, call Zoom for Government at 1-669-254-5252
or 1-646-828- 7666. Then enter the meeting ID and password.Meeting ID and
password. The meeting ID for this hearing is 161 319 7225 and the password is
584922. The meeting ID and password can also be found on the judge’s page on
the court’s web site.


If you object to this motion and want it called on the presentment date above, you
must file a Notice of Objection no later than two (2) business days before that date.
If a Notice of Objection is timely filed, the motion will be called on the presentment
date. If no Notice of Objection is timely filed, the court may grant the motion in
advance without a hearing.
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                                                                 By: /s/ Joseph P. Doyle______
                                                           Joseph P. Doyle, Attorney for debtor




                                         Certification
CERTIFICATE OF SERVICE I, Joseph P. Doyle, certify under penalty of perjury
under the laws of the United States of America that I served a copy of this notice
and the attached motion on each entity shown on the attached list at the address
shown and by the method indicated on the list on January 25, 2022 at 4:30 p.m.

                                                           By: /s/Joseph P. Doyle
                                                                 Attorney for debtor

Attorney for the Debtor_________
Prepared By : Joseph P. Doyle
Law Offices of Joseph P. Doyle
105 S. Roselle Road, Suite 203
Schaumburg, IL 60193
(Ph): 847-985-1100 (Fax) 847-985-1126
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                                          SERVICE LIST


Registrants Served Via Electronic

Patrick S. Layng, United States Trustee
219 South Dearborn Street, Suite 873
Chicago, IL 60604

Trustee Glenn Stearns
801 Warrenville Road St.
Suite 650
Lisle, IL 60532

Atlas Acquisitions LLC
294 Union St.
Hackensack, NJ 07601

Capital One Auto Finance
P.O. BOX 201347
ARLINGTON, TX 76006

Capital One Auto Finance c/o AIS Portfolio Services, LP
P.O. BOX 4360
Houston, TX 77210-4360

Capital One Auto Finance c/o AIS Portfolio Services, LP f/k/a AIS Data Services
d/b/a/ Ascension Capital Group
4515 N Santa Fe Ave. Dept. APS
Oklahoma City, OK 73118

Lakeview Loan Servicing, LLC
425 Phillips Boulevard
Ewing, NJ 08618

NCEP LLC
c/o Becket and Lee LLP
PO Box 3001
Malvern, PA 19355-0701

McCalla Raymer Pierce, LLC
1 N Dearborn Street
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  Suite 1200
  Chicago, IL 60602

Parties Served Via First Class Mail

  Account Receivable Management            Advanced Endodontics                American Home Shield
  155 Mid Atlantic Parkway                 103 S. Greenleaf, Suite K           P.O. Box 849
  Thorofare, NJ 08086                      Gurnee, IL 60031                    Carroll, IA 51401




  Ar Resources Inc                         Asset Acceptance, LLC               Associate Area Counsel, SB/SE
  1777 Sentry Pkwy W                       PO Box 2036                         200 W. Adams, Suite 2300
  Blue Bell, PA 19422                      Warren, MI 48090                    Chicago, IL 60606-5208




  Atlas Acquisitions LLC                   Avenue/WFNNB                        Bank Of America
  294 Union Street                         PO Box 659584                       Nc4-105-03-14
  Hackensack, NJ 07601                     San Antonio, TX 78265-9584          Po Box 26012
                                                                               Greensboro, NC 27410



  Caine & Weiner                           Capital One                         Capital One Auto Finance
  Po Box 5010                              P.O. Box 85520                      Attn: Bankruptcy Dept
  Woodland Hills, CA 91365                 Richmond, VA 23285                  Po Box 30258
                                                                               Salt Lake City, UT 84130



  Chase                                    Chase Bank                          Chase Receivables
  800 Brooksedge Blvd.                     National Bank by Mail               1247 Browadway
  Westerville, OH 43081                    PO Box 36520                        Sonoma, CA 95476
                                           Louisville, KY 40233-6520



  Choice Recovery Inc                      Citibank                            City of Waukegan
  1550 Old Henderson Rd Ste 100            P.O. Box 6077                       Attn: Bankruptcy Dept.
  Columus, OH 43220                        Sioux Falls, SD 57117-6077          106 N. Martin Luther King Jr. Ave
                                                                               Waukegan, IL 60085



  Consumer Co-Op Credit Union              D. Patrick Mullarkey Tax Division   Fed Loan Servicing
  P.O. Box 9119                            P.O. Box 55                         Po Box 60610
  Waukegan, IL 60079                       Ben Franklin Station                Harrisburg, PA 17106
                                           Washington, DC 20044



  Fedloan Servicing                        First Premier Bank                  Fisher & Shapiro
  P.O. Box 69184                           601 S. Minnesota Avenue             2121 Waukegan
  Harrisburg, PA 17106                     Sioux Falls, SD 57104               Suite 301
                                                                               Deerfield, IL 60015
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FMS, Inc.                                Global Receivables S                 Guaranty Bank
PO Box 707600                            2703 N Highway 75                    25 Turner Ave
Tulsa, OK 74170-7600                     Sherman, TX 75090                    Suite 101
                                                                              Elk Grove Village, IL 60007



Guaranty Financial Group                 Home Choice                          HSBC Bank
1300 S. Mopac Expwy                      1511 N. Lewis Avenue                 P.O. Box 5253
Austin, TX 78746                         Waukegan, IL 60085                   Carol Stream, IL 60197




IDES                                     IDES                                 Illinois Department of Revenue
Benefits Repayments                      Benefits Repayments                  P. O. Box 64338
P.O. Box 6996                            PO Box 19286                         Chicago, IL 60664-0338
Chicago, IL 60680-3012                   Springfield, IL 62794



Internal Revenue Service                 IRS                                  Keynote Consulting
Mail Stop 5010 CHI                       PO Box 7317                          220 W Campus Dr
230 S. Dearborn Street                   Philadelphia, PA 19101-7317          #102
Chicago, IL 60604                                                             Arlington Heights, IL 60004



Leading Edge Recovery Solutions          Liberty University                   LVNV Funding LLC
P. O. Box 505                            P.O. Box 10425                       P.O. Box 10497
Linden, MI 48451-0505                    Lynchburg, VA 24506                  Greenville, SC 29603




M & T Bank                               MCM                                  Med Business Bureau
Po Box 844                               8875 Aero Dr.                        1460 Renaissance Dr
Buffalo, NY 14240                        Suite 200                            Suite 400
                                         San Diego, CA 92123                  Park Ridge, IL 60068



Midland Funding, LLC                     NCO Financial Systems                Nelnet Loans
8875 Aero Dr. Ste 200                    507 Prudential Road                  Nelnet Claims
San Diego, CA 92123                      Horsham, PA 19044                    Po Box 82505
                                                                              Lincoln, NE 68501



Nelson, Watson, & Associates             PennCredit                           PORTFOLIO RECOVERY ASSOC
80 Merrimack Street                      946 S 14th St                        120 CORPORATE BLVD, STE 100
Lower Level                              PO Box 988                           Norfolk, VA 23502
Haverhill, MA 01830                      Harrisburg, PA 17108



Premier Bankcard/Charter                 Professional Bureau of Collections   RAC Acceptance
PO Box 2208                              PO Box 628                           P.O. Box 5609
Vacaville, CA 95696                      Elk Grove, CA 95759-0628             Greenville, TX 75403
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Receivable Management Services          Redline Recovery Services           RGS Collections
4836 Brecksville Road                   P.O. Box 1022                       3333 Earhart Drive, Suite 150
Richfield, OH 44286                     Fort Mill, SC 29716-1022            Carrollton, TX 75006




Spiegel                                 Sprint/Bankruptcy                   State of Wisconsin
P.O. Box 9204                           PO Box 7949                         2135 Rimrock Road
Old Bethpage, NY 11804                  Overland Park, KS 66207-0949        P.O. Box 8906
                                                                            Madison, WI 53708-8906



Sunrise Credit Services                 Transwolrd systems                  United Debt Holdings
260 Airport Plaza                       2235 Mercury way, Suite 275         P.O. Box 5609
Farmingdale, NY 11735-3946              Santa Rosa, CA 95407-5413           Greenville, TX 75403-5909




United States Attorney                  Victoria Secret/WFNNB               Vista Medical Center
219 S. Dearborn Street                  P.O. Box 182125                     PO Box 504316
Chicago, IL 60604                       Columbus, OH 43218-2125             Saint Louis, MO 63150-4316




Walmart                                 Waste Management                    Weltman, Weinberg & Reis
PO Box 530939                           2625 W. Grandview Road, Suite 150   323 W. Lakeside Avenue, Suite 200
Atlanta, GA 30353-0939                  Phoenix, AZ 85023                   Cleveland, OH 44113




West Asset Management                   Williams & Fudge, Inc               Windham Professionals
P.O. Box 2548                           775 Addison Avenue                  382 Main Street
Sherman, TX 75091-2548                  Rock Hill, SC 29731                 Salem, NH 03079




World Financial Network
PO Box 182125
Columbus, OH 43218
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                               United States Bankruptcy Court
                                 Northern District of Illinois
                                      Eastern Division

      IN RE: Michelle Y. Powell                 )
                                                )       CHAPTER 13
                                                )       Case No. 16-25353
             DEBTOR(S)                          )       Judge: Goldgar
                                                )


                     Motion to Modify Plan and Extend Plan Payments

Now Comes Counsel for, Michelle Y. Powell, Joseph Doyle, and respectfully states:

   1. This Court has jurisdiction over this proceeding pursuant to 28 U.S.C. 1334 and this is a
      core proceeding under 28 USC 157(b)(2)

   2. The debtor has filed a petition for relief pursuant to Chapter 13 on August 8, 2016.

   3. This Honorable Court has confirmed the Debtor’s Chapter 13 Plan, with general
      unsecured creditors to be paid 100% and a plan base of $51,251.00.

   4. The confirmed Chapter 13 Plan requires that the debtor make a plan payment to the
      Chapter 13 Trustee in the amount of $923.00 on a monthly basis for a term of
      approximately 66 months.

   5. The Debtor has not converted the Chapter 13 case from a Chapter 7 case.

   6. At the time of this filing, the debtor is in month 65 of the plan and there is an estimated
      remaining plan balance of $4,654.00.

   7. The Debtor has been negatively impacted by COVID-19. Debtor was on a Payroll
      Control Order with her employer until March 12,2021 when she was furloughed due to
      the Pandemic.

   8. The Debtor was not able to find employment until July 6,2021 when she obtained a new
      position. She received unemployment benefits for a short period of time between April
      2021 and June 2021 but used them to retain her home.

   9. The Debtor was again furloughed and was out of work without receiving any
      unemployment benefits from September 2021 and just began working again January
      14, 2022.

   10. Under the CARES Act, a debtor may extend her plan beyond the traditional 60-month
       period.
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    11. The Debtor’s Trustee payment needs to be extended to 84 months.

    12. That as a result, the Debtor can afford a monthly Trustee payment of $259.00 and will
        be able to continue to make her plan payments through month 84 of the plan. Please
        see attached the Debtor’s Amended Schedules I & J as Exhibit A.

Wherefore, the Debtor Prays:

        a) That this Honorable Court enter an order modifying the Chapter 13 Payment Plan to
           $259.00 per month starting in month 65 (February 2022).

        b) The plan base remains the same.

        c) The term for repayment is extended to 84 months.

       d)    Per the amendment to the CARES Act, the case may run longer than 60 months

       d)    That all other terms of the confirmed Chapter 13 plan shall remain the same.

                                             By: /s/ Joseph P. Doyle__________
                                             Joseph P. Doyle, Attorney for Debtor

Attorney for Debtor
Prepared by Joseph P. Doyle
Law Offices of Joseph P. Doyle
105 S. Roselle Road, Suite 203
Schaumburg, IL 60193
(Ph) 847-985-1100 (Fax) 847-985-1126
